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 8              IN THE UNITED STATES DISTRICT COURT FOR THE
 9                     EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,        )
                                      )   CR. S-11-354 LKK
12             Plaintiff,             )
                                      )   ORDER CONTINUING STATUS
13                                    )   CONFERENCE
          v.                          )
14                                    )
     EVARISTO ARREOLA VENTURA,        )
15   and OSCAR GOMEZ GORIBALDO,       )
                                      )
16             Defendants.            )
                                      )
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19        This matter came before the Court for a status conference on
20   August 28, 2012, at 9:15 a.m.     The United States was represented
21   by Assistant United States Attorney Todd D. Leras.         Defendant
22   Arreola Ventura was personally present and represented by
23   Attorney Olaf Hedberg.    Defendant Gomez Goribaldo appeared
24   through his counsel, Assistant Federal Defender Benjamin
25   Galloway, pursuant to a written waiver of appearance.
26        The parties informed the Court that they are working toward
27   resolution of the case and need additional time to discuss
28   revisions and exchange information related to settlement

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 1   proposals.    All parties therefore requested to continue the
 2   status conference to October 2, 2012.       Based on the
 3   representations of the parties, the Court further ordered that
 4   time be excluded under 18 U.S.C. § 3161(h)(7)(B)(iv); Local Code
 5   T4 (reasonable time to prepare and continuity of counsel).            The
 6   Court directed government counsel to prepare a formal order.
 7        IT IS HEREBY ORDERED:
 8        1.      A status conference in this matter is set for October
 9   2, 2012, at 9:15 a.m.;
10        2.      Based on the parties’ representations, the Court finds
11   that the ends of justice outweigh the best interest of the public
12   and Defendants in a speedy trial.      Accordingly, time under the
13   Speedy Trial Act shall be excluded through October 2, 2012.
14        IT IS SO ORDERED
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16   Date: August 31, 2012
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